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                        UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF RHODE ISLAND


                                 CRIMINAL CASES

  CR16-50-S-PAS          USA v. Gaythorne Angell
                         Perjury

  CR16-106-01-S-PAS      USA v. Marino Antonio Tuburcio Guzman
                         Possession w/Intent to Distr. Cocaine

  CR17-32-01-S-PAS       USA v. Willy D. Espinal
  CR17-32-02-S-PAS       USA v. Laura G. Martinez
                         Conspiracy to Possess w/Intent to Distr.
                         Cocaine

  CR17-39-01-S-LDA       USA v. Reysean Williams
  CR17-39-02-S-LDA       USA v. Leandro Gomes
                         Conspiracy to Sex Traffic a Child

  CR17-82-01-S-PAS       USA v. Diana Acevedo
  CR17-82-02-S-PAS       USA v. Danys Rivera
                         Concealment of Bankruptcy Assets

  CR17-96-S-LDA          USA v. Matthew Riley
                         Transfer of Obscene Matter to a Minor

  CR17-123-02-S-LDA      USA v. Manuel C. Coradin
  CR17-123-03-S-LDA      USA v. Antonio Oquenco Cancel
                         Conspiracy to Possess w/Intent to Distr.
                         Cocaine Base

  CR17-125-S-PAS         USA v. Thomas M. Hammond
                         Attempt to Entice Minor to Sexual Activity

  CR18-06-S-PAS          USA v. Eric Valdez
                         Felon in Possession of Ammunition

  CR18-17-S-PAS          USA v. Michael Llorca
                         Possession of Child Pornography

  CR18-18-S-LDA          USA v. Robert L. MacGregor
                         Possession of Child Pornography

  CR18-29-S-PAS          USA v. Dennis Rivera
                         Possession w/Intent to Distr. Cocaine Base
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  CR18-30-S-PAS           USA v. Ademola Kayode, Jr.
                          Possession of a Firearm by User of a
                          Controlled Substance

  CR18-33-S-PAS           USA v. Lucilo Mena
                          False Statement During Purchase of a Firearm

  CR18-45-S-PAS           USA v. John Perras
                          Charges of Escape

  CR18-46-S-PAS           USA v. Shawn Whitfield
                          Conspiracy to Commit Wire Fraud

  CR18-66-S-LDA           USA v. Ariel Almonte
                          Possession with Intent to Distr. Fentanyl

  CR18-68-S-PAS           USA v. Christopher Kinney
                          Coercion and Enticement of a Minor

  CR1869-S-LDA            USA v. Jose A. Cortes
                          Sexual Exploitation of a Minor

  CR18-84-S-PAS           USA v. Eufemio Aguilar
                          Fraud and Misuse of Visas, Permits and Other
                          Documents

  CR18-97-S-PAS           USA v. Carlos Rodriguez-Reina
                          Illegal Re-entry



                              CIVIL CASES (JURY)

  CA15-144-WES-LDA        John Doe v. Brown University1
                          Civil Rights Violation


                            CIVIL CASES(NON-JURY)

  CA17-67-WES-LDA         Therapy Resources Management LLC v. JBF
                          Healthcare Management Inc., et al.
                          Diversity: Account Receivable/Contract




        1
            CA15-144-WES will be empaneled on Tuesday 9/25/18 at 9:30
  AM
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                                  TRIAL NOTICE

       You are hereby notified that the above-captioned cases will
  begin empanelment on September 5th, 2018 at 9:30 AM and continue
  through September 6th, 2018. Trial counsel must be present for the
  empanelment of the jury unless excused by the Court. The above cases
  may or may not be reached for trial in the order listed. It is
  counsel’s responsibility to keep informed of the status of their
  cases. Any pretrial memoranda not previously filed must be filed by
  August 29th, 2018.

       Under Guideline 3E1.1(b)(2), only timely pleas qualify for a
  three level reduction for acceptance of responsibility. Any plea
  agreements or notices of intent to plead guilty must be filed at
  least seven (7) days prior to empanelment.

       Counsel are reminded that every effort should be made to settle
  the case before jurors are summoned for empanelment. Counsel are to
  advise the clerk of any such settlement and file a stipulation of
  dismissal no later than seven (7) days before the scheduled
  empanelment date. Jury costs and/or counsel fees may be assessed
  against one or more of the parties and/or counsel if the Court
  determines that the lateness of settlement was due to unreasonable
  or vexatious conduct or neglect.

        Counsel must file a copy of their voir dire questions, and in
  civil cases, a brief statement of the facts no later than August
  29th, 2018.




                                           Judge William E. Smith
                                           United States District Judge
                                           date: August 9th, 2018
